6/28/2019                19-01022-mew                     The Hype
                                                     Doc 36-4      Magazine
                                                                Filed       Interviews Boaz
                                                                       06/28/19             BagBag?06/28/19
                                                                                        Entered     – The Hype Magazine
                                                                                                               14:01:38                  Exhibit
                                                                    Article Pg 1 of 5




                                                                                                                  Back to Top ↑




                                                                                                     In
                                                                                                        t
                                                                                                       er
                                                                                                         vi
                                                                                                                                             




                                                                                                           ew
 Facebook




                                                                                                              s
                                                                                                                    Read The Hype Magazine




            Published on May 11th, 2019 | by Jameelah "Just Jay" Wilkerson                              0




     The Hype Magazine Interviews
     Boaz BagBag?
     Autism is common. More than 200,000 new cases discovered annually, primarily diagnosed at infancy.
     Common, the resources for the disease are limited and inconvenient. Manhattan’s Boaz BAGBAG
     provides Uptown with a premier location as he opens a nursery for Autistic children in Manhattan.


     Known as the First Tree Center. The nursery will be available for all autistic children in the surrounding
     New York-area. Providing urgent assistance, classrooms, and rehabilitating daycare for children
     between infants through 3-years-old.


     Reports have shown, currently, 16 diagnosed infants travel to nurseries outside New York-area while
     others remain home due to the inability of convenient travel outside the Tri-State


     Successful entrepreneur Boaz BAGBAG (54) has invented safety products for the automotive industry,
     Uber and Lyft-partnered black car service, and invested ambulance service that has employed
                                                                                                                    Get Your Stream On
     thousands including U.S. immigrants seeking new opportunities as they relocate from foreign
     countries. BAGBAG himself is a former immigrant who came to the Tri-State area in 1993 from Israel.


     Autism (ASD) is a genetic disorder that can challenge social skills, repetitive behaviors, speech, and
     nonverbal communication. Often accompanied by other medical issues including seizures, sleep
     disturbances, and Gastrointestinal disorders (GI). Studies show that Autism a ects an estimated 1 in
     59 children with symptoms appearing as early as 2-year-old. While treatable, Autism is an incurable
     lifelong developmental disorder.


     BAGBAG is hopeful through the opening of his Manhattan nursery will provide an opportunity to learn
     more on autistic treatment. Challenge the education and cultural adversities with provided resources.
     Overall, assisting in the rapid growth of support within the immigrant community within New York.


     In New York alone, in the last two years, we’ve seen growth approximately 65,000 immigrants involved
     in the cultural development of the Tri-State area. BAGBAG has become one of the prominent gures in
     the educational, cultural, and economic growth of the surrounding Tri-State region. Continuing to
     provide resources for the less fortunate and necessities that were not available upon his original arrive
     immigrating to the U.S.
                                                                                                                    News From Hip-Hop To Hollywood!


https://www.thehypemagazine.com/2019/05/the-hype-magazine-interviews-boaz-bagbag/                                                                     1/5
6/28/2019             19-01022-mew                Doc 36-4 The Hype  Magazine
                                                                   Filed         Interviews Boaz
                                                                          06/28/19                BagBag?06/28/19
                                                                                              Entered     – The Hype Magazine
                                                                                                                     14:01:38 Exhibit
                                                                       Article
     First Tree Center. Operation hours will be from 7:30AM to 4:30PM weekly,         Pg
                                                                              located in the2 of 5East
                                                                                            Upper                    Moksi Rap-Infused House Track “So
     Side of New York City.                                                                                              Fly” ft. Lil Debbie on Yellow Claw’s
                                                                                                                         Barong Family, Ahead of Debut
                                                                                                                         Studio Album
                                                                                                                         June 28th | by Hype Editorial
                                                                                                                         Catch those summer vibes with LV’s
                                                                                                                         Latest Single “Love You A Lot” –
                                                                                                                         Released Today!
                                                                                                                         June 28th | by Hype Editorial


                                                                                                                         Chris Brown – Indigo
                                                                                                                         June 28th | by Jerry Doby




                                                                                                                         HOMESAFE Release New Single
 Facebook




                                                                                                                         “Without Warning”
                                                                                                                         June 28th | by Hype Editorial




                                                                                                                         Multi-Platinum & Chart-Topping
                                                                                                                         Global Superstar Chris Brown
                                                                                                                         Releases 9th Studio Album INDIGO
                                                                                                                         June 28th | by Jerry Doby

                                                                                                   As you
     see your self, who is Boaz BagBag and what brought you to the shores of America?


     I came to America looking to better my life I was broke with 80$ in my pocket, sleeping on the streets     Collabmix.com
     for days then, I started working at a 99 cents store, from there I made my way in the automotive
     industries and in 1994 I became an expert on eet and safety management.


     What and/or who in uenced you to become the entrepreneur that you are today?


     Helping other minority immigrants. blind and disabled people.


     What drove you to begin giving back to others within the community?


     I saw the need of minorities in the us that no agencies would help and realized with just a small
     budget we can change life’s.


     Tell us about your current philanthropic e orts and future projects?


     Synagogues in the USA and Israel, kids with autism, education for TLC drivers and helping drivers to
     become independent.


     What do you want people to realize from your philanthropic e orts?


     Build hope in others the same way I built hope in myself.


     What do you feel has been your greatest life achievement so far?


     Stopping minorities in the TLC business from committing suicide after seeing a total of 8 people that
     has killed themselves.
                                                                                                                Music Lounge
     Is there anything else you would like to share?


     I hope that others will join forces with me in what I’m doing in New York because its a great state to
     help and support others.

     Share
              Tweet



             SHARE ON FACEBOOK          SHARE ON TWITTER
                                                                                                              Chris Brown – Indigo
     About the Author

                       Jameelah "Just Jay" Wilkerson




https://www.thehypemagazine.com/2019/05/the-hype-magazine-interviews-boaz-bagbag/                                                                               2/5
6/28/2019                19-01022-mew                      The Hype
                                                      Doc 36-4      Magazine
                                                                 Filed       Interviews Boaz
                                                                        06/28/19             BagBag?06/28/19
                                                                                         Entered     – The Hype Magazine
                                                                                                                14:01:38                                Exhibit
                                                                     Article Pg 3 of 5
                                                                                                   Ads by Revcontent
     From the Web



                                                                                                                       Lil Chimey – No Love




        New Weight Loss Discovery         New Platform Is                     Do You Su er From One Of
        Burns Belly Fat Like Crazy        Revolutionizing Forensic            These Bizarre Phobias?
 Facebook




        HealthE News                      Accounting                          Probably
                                          VALID8                              Buzzworthy




                                                                                                                       Lil Jon & Mac Dre – Ain’t No Tellin’




        Fight “Hacks" From Ex             Clint Eastwood's Family             This Picture is Not Edited...
        SEAL: Defend Yourself In          Finally Con rmed the                It's Real
        Any Situation                     Rumours About His Net               Reportily
        SurvivalTech                      Reportily




     Related Posts                                                                                                     DJ Khaled – “You Stay”




                                                                                                                          Periscope



     UFC’s, Luis Pena Warns       Black and Nobel: Sea       Rehegoo CEO and               Alfonso Ribeiro On
     Future Opponents:            Moss Gold… Put Life        Founder Marco                 Hampton By Hilton’s
     “You Better Be Ready         Back Into Your Body        Rinaldo Re ects on the        “Real Travel Road Trip
     To Get Hurt!”      →         →                          Label’s Collaboration         Hotline,” Career
                                                             with Global Icon              Highlights & More   →
                                                             Quincy Jones   →




                                    Feed                                                              by Engage.IM

                  Your Online Insider
            YO    Sponsored

                                                                         Hey There!
                                                                                                                          Advertisement
                                                                Connect your account to surface
                                                               personalized and relevant content!


                                                                        Personalize with Facebook


            Md: Do This Immediately If You                                  Continue with E-mail
            Have Diabetes (Video)
            Read More
                                                                    Already have an account? Login
                                                                            Terms and Conditions
                Love


            Be the rst to react



https://www.thehypemagazine.com/2019/05/the-hype-magazine-interviews-boaz-bagbag/                                                                                 3/5
6/28/2019                      19-01022-mew            The Hype
                                                  Doc 36-4      Magazine
                                                             Filed       Interviews Boaz
                                                                    06/28/19             BagBag?06/28/19
                                                                                     Entered     – The Hype Magazine
                                                                                                            14:01:38                                 Exhibit
                                                                 Article Pg 4 of 5
                                                          Fashion          Rock        Dance       Radio
                                                                           Music
             JJ     Jameelah Just Jay Wilkerson



                                                                  Upbeat News
                                                         UN       Sponsored


                                                                                                                           S7K Golf Stand Alone Putter
                                                                                                            Introducing the brand-new S7K Stand
                                                                                                            Alone Putter. It stands up & stays sq…        Info


             Autism Spectrum
 Facebook




            Who Is Boaz BagBag
                                                                                                             The Hype Magazine Facebook
            Read More
                                                         Ocean Photos That Will Make You
                                                         Run for a Fresh Pair of Undies
                    Love           Engage      Share
                                                         Read More
            Be the rst to react             0 comments

                                                               Love


                                                         Be the rst to react

                    Upbeat News
            UN      Sponsored



                                                          JJ      Jameelah Just Jay Wilkerson




            Hilarious Teachers Who You Wish
                                                                                                             Advertisement
            You Had in High School
            Read More                                     Music   Hip-Hop Music


                                                         The Hype Magazine Interviews:
                  Love                                   Episode
                                                         Read More
            Be the rst to react


                                                                  Love             Engage         Share


                    Buzzworthy                           Be the rst to react                   0 comments
             B      Sponsored




                                                                  Buzzworthy
                                                          B       Sponsored




                                                                                                             St. Kitts Music Festival
            Loggers Cut Down Old Tree But
            Never Expected What They Saw
            Inside
            Read More
                                                         Loggers Cut Down Old Tree But
                                                         Never Expected What They Saw
                    Love           Engage      Share
                                                         Inside
            Be the rst to react                          Read More




https://www.thehypemagazine.com/2019/05/the-hype-magazine-interviews-boaz-bagbag/                                                                                4/5
6/28/2019                  19-01022-mew                               The Hype
                                                                 Doc 36-4      Magazine
                                                                             Filed      Interviews Boaz
                                                                                   06/28/19             BagBag?06/28/19
                                                                                                    Entered     – The Hype Magazine
                                                                                                                           14:01:38                                    Exhibit
                                                                         Love    Article Pg 5 of 5
                   Routinejournal                                             Be the rst to react
             R     Sponsored




                                                                                        Routinejournal
                                                                                 R      Sponsored




            What Bernadette from 'The Big
 Facebook




            Bang Theory' Looks Like in Real
            Life is Stunning!
            Read More
                                                                              What Bernadette from 'The Big
                                                                              Bang Theory' Looks Like in Real
                 Love
                                                                              Life is Stunning!
            Be the rst to react                                               Read More



                                                                                        Love        Engage              Share


                                                                              Be the rst to react




                                                                 Recent Posts                                The Hype TV                               May 2019

                                                                                                                                                         S       M    T    W        T    F       S

                                                                                Moksi Rap-Infused House                                                                    1        2    3       4
             More than just an average urban music                              Track “So Fly” ft. Lil
             magazine, The Hype Magazine services                                                                                                        5       6    7    8        9    10      11
                                                                                Debbie on Yellow Claw’s
             our readers and subscribers a diverse                              Barong Family, Ahead of                                                  12      13   14   15   16       17      18
             collection of stories, interviews and                              Debut Studio Album
                                                                                                                                                         19      20   21   22   23       24      25
             impactful editorials. HYPE is not a niche           June 28th | by Hype Editorial

             market outlet, our audience range                                                                                                           26      27   28   29   30       31
                                                                             Catch those summer
             includes fashion fans; gamers; movie nuts;
                                                                             vibes with LV’s Latest
             MMA followers; EDM; rock, television                            Single “Love You A Lot” –                                                   « Apr                                Jun »
             personalities, etc., if it's news worthy we          Released Today!
             cover it.                                           June 28th | by Hype Editorial




             Copyright © 2002 - 2018 The Hype Magazine, Inc - How You Perceive Everything


                  Home     The HYPE TV               Editorial Blog Archive      Subscribe Today    Submit Your Video    Submit Your Music   Privacy Policy      Terms of Service       Contact Us
             Back to Top ↑




https://www.thehypemagazine.com/2019/05/the-hype-magazine-interviews-boaz-bagbag/                                                                                                                     5/5
